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UNITED STATES COURT OF APPEALS

FOR THE NINTH CIRCUIT

 

FILED

MAR 22 2022

MOLLY C, DWYER, CLERK
U.S. COURT OF APPEALS

 

 

 

 

NEO4J, INC. and NEO4J SWEDEN
AB,

Plaintiffs-counter-
defendants - Appellees,

Vv.
PURETHINK, LLC; et al.,

Defendants-counter-
claimants - Appellants.

No. 21-16029

D.C. No. 5:18-cv-07182-EJD

U.S. District Court for Northern
California, San Jose

MANDATE

 

 

The judgment of this Court, entered February 18, 2022 amended March 14,

2022, takes effect this date.

This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

FOR THE COURT:

MOLLY C. DWYER
CLERK OF COURT

By: Rhonda Roberts
Deputy Clerk
Ninth Circuit Rule 27-7
